989 F.2d 495
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.John Gainey COOPER, Defendant-Appellant.
    No. 92-7273.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 1, 1993Decided:  March 24, 1993
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Fayetteville.  W. Earl Britt, District Judge.  (CR-89-37-3-BR, CA-92-128-3)
      John Gainey Cooper, Appellant Pro Se.
      Richard Hancock Moore, Office of the United States Attorney, Raleigh, North Carolina, for Appellee.
      E.D.N.C.
      AFFIRMED
      Before WIDENER, HAMILTON, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      John Gainey Cooper appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Cooper, Nos.  CR-89-37-3-BR, CA-92-128-3 (E.D.N.C. Dec. 7, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    